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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

 Case No.         5:24-cv-00329-MRA (DTBx)                             Date       April 29, 2024
 Title            Dennis Cooper v. Ignacio Magana Gonzalez et al



 Present: The Honorable         MÓNICA RAMÍREZ ALMADANI, UNITED STATES DISTRICT JUDGE

            Gabriela Garcia                             None Present                       __________
                Deputy Clerk                      Court Reporter / Recorder                  Tape No.
            Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       None Present                                         None Present
 Proceedings:              (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                           LACK OF PROSECUTION

      The Court, on its own motion, hereby ORDERS plaintiff(s) to show cause in writing no later than
May 3, 2024, why this action should not be dismissed for lack of prosecution as to all Defendants.

        As an alternative to a written response by plaintiff(s), the Court will consider the filing of one of
the following on or before the above date as an appropriate response to this Order:

X        Answer to Complaint (F.R.Civ.P. 12(a));
X        Request for Entry of Default (F.R.Civ.P. 55); or
X        Notice of Voluntary Dismissal (F.R.Civ.P. 41(a))

         Absent a showing of good cause, an action shall be dismissed if the summons and complaint have
not been served upon all defendants within 90 days after the filing of the complaint. Fed. R. Civ. P 4(m).
It is the responsibility of the plaintiff(s) to respond promptly to all Orders and to prosecute the action
diligently, including by filing mandatory proofs of service and stipulations or motions extending time to
respond. If necessary, the plaintiff(s) must also pursue remedies promptly under Federal Rule of Civil
Procedure 55 upon the default of any defendant. The Court must approve all stipulations affecting the
progress of the case. Local Rule 7-1.

       No oral argument regarding this matter will be heard unless ordered by the Court. This Order will
stand submitted upon the filing of a responsive pleading or motion on or before the date upon which a
response by the plaintiff(s) is due.

                                                        Initial of Deputy Clerk    gga




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